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                         UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *
                                             *       CRIMINAL NO. LO-19-0449
               v.                            *
                                             *       UNDER SEAL
KENNETH WENDELL RAVENELL,                    *
JOSHUA REINHARDT TREEM, and                  *
SEAN FRANCIS GORDON,                         *
                                             *
               Defendants.                   *
                                             *

  DEFENDANT RAVENELL’S REPLY IN SUPPORT OF MOTION FOR A STAY OF
        THE COURT’S SEALED OCTOBER 27, 2021 ORDER (ECF 378)

       In response to Mr. Ravenell’s motion for a stay, the government argues that (1) the Fourth

Circuit lacks jurisdiction to review the Court’s October 27, 2021, order, Gov’t Resp. at 2 (citing

Mohawk Industries, 558 U.S. 100 (2009)); (2) Mr. Ravenell will not suffer irreparable harm; and

(3) the government and the public would suffer harm from a stay. Id. The Court should grant the

motion for a stay.

       First, as the Fourth Circuit noted last year in granting a petition for mandamus reversing

this Court’s pretrial order requiring the disclosure of privileged information, parties remain able

to petition for mandamus to address disclosure orders that satisfy the standard for mandamus

notwithstanding the Supreme Court’s decision in Mohawk. In re Fluor Intercontinental, Inc., 803

F. App'x 697, 700 (4th Cir. 2020). Courts therefore “have exercised mandamus jurisdiction over

privilege and work product issues because [they] have found that ‘appealing [those] issues after

final judgment is ineffective,’ for the simple and obvious reason that ‘compliance with the

production orders ... destroys the right sought to be protected.’” In re Chambers Dev. Co., Inc.,

148 F.3d 214, 227 (3d Cir. 1998) (citation omitted). In other words, “appeal after final judgment

will often come too late because the privileged materials will already have been released. In other
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words, ‘the cat is out of the bag.’” In re Kellogg Brown & Root, Inc., 756 F.3d 754, 761 (D.C. Cir.

2014) (op. for court by Kavanaugh, J.).

        Second, for the same reason, Mr. Ravenell will be irreparably harmed in the absence of a

stay. As the Fourth Circuit ruled in this very case, irreparable harm arises from the fact that the

“Filter Team’s review of [these] privileged materials cannot be undone.” In re Search Warrant

Issued June 13, 2019, 942 F.3d 159, 175 (4th Cir. 2019), as amended (Oct. 31, 2019).

        Third, the government’s argument that it will be harmed presumes that it will not be able

to access “relevant documents that bear on [Mr. Ravenell’s] guilt.” Gov’t Resp. at 3. Mr. Ravenell

simply seeks to enforce the terms of the Consent Order such that he has the opportunity for a

hearing and appellate review of documents that are privileged and fall outside of the crime-fraud

exception. The government’s argument presumes that the documents at issue are both relevant and

are not subject to privilege by virtue of the crime-fraud exception, the very issues that Mr. Ravenell

seeks to litigate.

        Finally, the government’s argument that the public will not be served by appellate review

ignores the substantial interests that weigh in favor of protection of both attorney-client and work

product information. As the Fourth Circuit ruled previously, “[f]ederal agents and prosecutors

rummaging through law firm materials that are protected by attorney-client privilege and the work-

product doctrine is at odds with the appearance of justice.” In re Search Warrant Issued June 13,

2019, 942 F.3d 159, 183 (4th Cir. 2019). Mr. Ravenell merely seeks to vindicate these significant

and important interests.




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October 29, 2021                    Respectfully submitted,

                                    KENNETH RAVENELL

                                    /s/ Aislinn Affinito
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of October, 2021, I caused a copy of Defendants’

Motion to Stay to be served upon counsel for the United States of America via email.




                                                           /s/ Aislinn Affinito
                                                           ______________________________
                                                           Aislinn Affinito
                                                           Attorney for Kenneth Ravenell




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